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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 UNITED STATES OF AMERICA                        §
                                                 §
 vs.                                             §                   2:03CR19(23)
                                                 §
 COREY WILBERT                                   §

                                   MEMORANDUM ORDER

         The above-entitled and numbered criminal action was heretofore referred to a United States

 Magistrate Judge pursuant to 28 U.S.C. § 636. The report of the Magistrate Judge which contains

 his proposed findings of fact and recommendations for the disposition of such action has been

 presented for consideration. No objections to the Report and Recommendation were filed. The court

 is of the opinion that the findings and conclusions of the Magistrate Judge are correct. Therefore,

 the court hereby adopts the report of the United States Magistrate Judge as the findings and

 conclusions of this court. Accordingly, it is hereby

         ORDERED that the defendant’s plea of true to the second and third allegations as set forth

 in the government’s petition be ACCEPTED. Based upon the defendant’s plea of true to the second

 and third allegations, the court finds that the defendant violated the conditions of his supervised

 release. It is further

         ORDERED that the defendant’s supervised release be REVOKED. It is further

         ORDERED that the defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of eight (8) months, with no term of supervised release to follow such term

 of imprisonment. It is further

         REQUESTED that the Bureau of Prisons place the defendant in its Texarkana, Texas facility
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 during the term of his confinement.

       SIGNED this 16th day of May, 2008.



                                            __________________________________________
                                            T. JOHN WARD
                                            UNITED STATES DISTRICT JUDGE




                                               2
